           Case 1:21-cv-00094-RJL       Document 9         Filed 02/01/21     Page 1 of 3




                       UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA


CATHOLIC LEGAL IMMIGRATION
NETWORK, INC., et al.,

                     Plaintiffs,

      v.                                      Case No.: 1:21-cv-00094 (RJL)

EXECUTIVE OFFICE FOR
IMMIGRATION REVIEW, et al.,

                     Defendants.




  PLAINTIFFS’ MOTION TO STAY AGENCY ACTION UNDER 5 U.S.C. § 705 AND/OR
                    FOR A PRELIMINARY INJUNCTION


       The Catholic Legal Immigration Network, Inc., Brooklyn Defender Services,

Florence Immigrant and Refugee Rights Project, HIAS, and National Immigrant Justice

Center (collectively, “Plaintiffs”) hereby respectfully request an exercise of this Court’s

authority under 5 U.S.C. § 705 to stay the December 16, 2020 final rule at issue in this case.

See Appellate Procedures and Decisional Finality in Immigration Proceedings;

Administrative Closure, 85 Fed. Reg. 81,588 (Dec. 16, 2020) (the “Rule”). As detailed in the

accompanying Memorandum, the Rule will burden Plaintiffs by impeding their provision of

legal services to noncitizens and undermining their shared missions to ensure the overall

fairness of immigration removal proceedings. Accordingly, such relief is necessary to

prevent irreparable harm to Plaintiffs and is warranted.

       Additionally, Plaintiffs respectfully submit their request for a preliminary injunction,

pursuant to Federal Rule of Civil Procedure 65(a)(1), requiring Defendants the Executive

Office for Immigration Review (“EOIR”), the Department of Justice, Jean King, in her
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        Case 1:21-cv-00094-RJL              Document 9     Filed 02/01/21     Page 2 of 3



official capacity to Acting Director of EOIR, and Monty Wilkinson, in his official capacity

as Acting Attorney General of the United States, to enjoin the operation of the Final Rule

until Plaintiffs’ claims can be resolved.

       Pursuant to Local Civil Rule 7(m), Plaintiffs conferred with Defendants about this

motion. Defendants represented that they oppose the motion.


Dated: February 1, 2021                             Respectfully submitted,

                                               By: s/ Jeffrey B. Dubner


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                                                   2
         Case 1:21-cv-00094-RJL          Document 9        Filed 02/01/21      Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I, Jeffrey B. Dubner, hereby certify that on February 1, 2021, I electronically filed the

foregoing document with the Clerk of the Court for the United States District Court for the District of

Columbia by using the CM/ECF system. Counsel in the case are registered CM/ECF users and

service will be accomplished by the CM/ECF system.

Dated: February 1, 2021                                By: s/ Jeffrey B. Dubner
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